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              [NOT YET SCHEDULED FOR ORAL ARGUMENT]

                IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


 IN RE APPLICATION OF THE NEW YORK
 TIMES COMPANY AND CHARLIE
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL BRIEFING,                               No. 23-5071
 AND ARGUMENT TRANSCRIPTS
 ANCILLARY TO JANUARY 6 GRAND
 JURY PROCEEDINGS


 IN RE PRESS APPLICATION FOR ACCESS
 TO JUDICIAL RECORDS AND
 PROCEEDINGS ANCILLARY TO
                                                                No. 23-5073
 CERTAIN GRAND JURY PROCEEDINGS
 CONCERNING DONALD J. TRUMP AND
 THE TRUMP ORGANIZATION


            REPLY IN FURTHER SUPPORT OF APPELLANTS’
            MOTION TO CONSOLIDATE RELATED APPEALS

      Appellants in Docket No. 23-5071, POLITICO LLC and Kyle Cheney, and

Appellants in Docket No. 23-5073, Bloomberg L.P., Cable News Network, Inc.,

The E.W. Scripps Company, POLITICO LLC, and WP Company LLC d/b/a The

Washington Post (all together, the “Press Appellants”), respectfully submit this

reply in further support of their motion to consolidate the two above-captioned

appeals, which both arise from denials of access to judicial records ancillary to

grand jury proceedings related to former President Trump. In its response
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(“Resp.”), the Government concedes “that the legal issues presented by the two

cases are overlapping” and agrees the cases should share the same “schedule for

briefing and oral argument,” see Resp. at 2-3, yet the Government objects to

consolidated briefing, see id. at 3-4. The Government’s half-a-loaf position is

unsound and undercuts one of the principal goals of consolidation, which is “to

achieve the most efficient use of the Court’s resources.” See Handbook of Prac. &

Internal Proc., Part V.A. (D.C. Cir. Mar. 16, 2021) (emphasis added). The Court

should grant the Press Appellants’ motion and fully consolidate these two cases.

                                   ARGUMENT

      The Government’s response fails in three respects to justify the inefficiency

and difficulty (if not impossibility) of separately briefing these two entwined cases.

      First, the Government acknowledges, as it must, that these two appeals

involve the same questions of law regarding access to judicial records of clear

public interest that are ancillary to grand jury proceedings where the Government

has officially acknowledged the existence of the underlying grand jury

investigations. The Government does not and cannot dispute that both cases

“highlight[] the tension that lies between the important policies underlying grand

jury secrecy, as currently codified in Rule 6(e), and the always strong presumption

in favor of public access to judicial proceedings,” In re N.Y. Times Co., No. 22-mc-

100-BAH, 2023 WL 2185826, at *1 (D.D.C. Feb. 23, 2023) (internal marks



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omitted). Nor can it dispute that both cases present questions of (1) “how district

courts are to evaluate when sealing is no longer ‘necessary’” under Rule 6(e)(6),

id. at *8; and (2) how to reconcile that Rule 6(e) requires keeping secret “a matter

occurring before the grand jury,” id., while this Court in McKeever v. Barr noted it

is “not at all clear” that when Rule 6(e) “mentions a ‘matter appearing before the

grand jury,’ it is referring to a ‘judicial record,’” such as an order on a motion to

compel or a motion for contempt ancillary to a grand jury proceeding. 920 F.3d

842, 848 (D.C. Cir. 2019).

      Second, the Government does not address how it would even be feasible to

brief these two appeals separately when the ruling below in the 23-5073 case

effectively incorporates the ruling below in the 23-5071 case. The -5071 ruling is

32 pages long and comprehensively addresses the “Legal Landscape” at issue,

including the “Policies Underlying Grand Jury Secrecy” and “Rule 6(e)’s Scope”

and the “Considerations in Unsealing Decisions Ancillary to Grand Jury Matters.”

In re N.Y. Times, 2023 WL 2185826, at **4-12. The -5073 ruling, by contrast,

notes that “[t]hree considerations recently highlighted in [the In re N.Y. Times

decision] counsel strongly for denial of the instant petition,” and cites that same In

re N.Y. Times decision six times in as many pages. Mem. & Order, In re Press

Application for Access to Jud. Records & Proc. Ancillary to Certain Grand Jury

Proc. Concerning Donald J. Trump & the Trump Org., No. 22-mc-128-BAH



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(D.D.C. Mar. 11, 2023), ECF No. 6. It is therefore not merely inefficient, but

entirely impracticable to brief these two cases separately.

      Third, the Government’s rationales for separate briefing are faulty. The

Government asserts that “separate briefs for each case are appropriate” due to “the

differences in factual circumstances and the anticipated need for a sealed or

redacted filing in at least one of the two cases.” Resp. at 3. But the Government

can just as easily file one redacted brief as it can an unredacted brief in the -5073

case and a redacted brief in the -5071 case. The Government also claims that these

two appeals have “distinct factual backgrounds, and keeping those backgrounds

separate will aid the Court’s consideration of these appeals.” Id. at 4. But separate

facts can easily and clearly be set out in consolidated briefing, and because the

legal issues across both cases involve access to records ancillary to a grand jury

proceeding, unified briefing will assist the Court in developing a uniform rule on

access to that discrete category of records and proceedings, which will provide

precisely the kind of guidance that then-Chief Judge Howell requested. See In re

N.Y. Times, 2023 WL 2185826, at *7 (“Unfortunately, McKeever does not clear all

confusion regarding a district court's authority to disclose grand jury materials.”).

      Finally, it bears note that this Court appears to have called for consolidated

briefing in the In re Motions of Dow Jones case, which likewise arose from several

rulings on separate but related press requests for access to records ancillary to



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grand jury proceedings: one seeking access to records concerning Monica

Lewinsky’s attorney’s objections to a grand jury subpoena, another seeking access

to records concerning a “motion to show cause filed by President Clinton against

Independent Counsel Kenneth W. Starr for alleged violations of grand jury

secrecy,” and a third “motion to govern access to all future ancillary proceedings

stemming from the grand jury’s investigation.” 142 F.3d 496, 498-99 (D.C. Cir.

1998). The docket reflects that the Court consolidated the appeals, No. 98-3033

and 98-3034, and directed the press appellants to file a single opening brief and

single reply brief, while allowing the four separate appellees (The White House,

President Clinton, Ms. Lewinsky, and Ms. Lewinsky’s attorney) to file “brief(s)” in

response. See Docket Entry for Per Curiam Order, In re Motion of Dow Jones, No.

98-3033 (Mar. 20, 1998).1 The Court then issued a single ruling on these

consolidated cases, holding, inter alia, that “if the Chief Judge can allow some

public access without risking disclosure of grand jury matters – either because the

subject of the proceeding removes the danger or because the proceedings may be

structured to prevent the risk without disruption or delay – Rule 6(e)(5)

contemplates that this shall be done.” 142 F.3d at 502 (emphasis added and

citation omitted). Here, too, the Court can and should consolidate these two cases




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    The Per Curiam Order itself is not available on the Court’s electronic docket.


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for all purposes and direct the parties to file unified briefs (with redactions as

necessary).

                                   CONCLUSION

      For the foregoing reasons and those set out in their initial motion, the Press

Appellants respectfully request that the Court fully consolidate the appeals in

Docket Nos. 23-5071 and 23-5073.

     Dated: April 19, 2023            Respectfully submitted,

                                      /s/ Chad R. Bowman
                                      Chad R. Bowman
                                      Charles D. Tobin
                                      Maxwell S. Mishkin
                                      Lauren Russell
                                      BALLARD SPAHR LLP
                                      1909 K Street, NW, 12th Floor
                                      Washington, DC 20006
                                      Telephone: (202) 661-2200
                                      Fax: (202) 661-2299
                                      bowmanchad@ballardspahr.com
                                      tobinc@ballardspahr.com
                                      mishkinm@ballardspahr.com
                                      russelll@ballardspahr.com

                                      Counsel for the Press Appellants




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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(C) because it contains 1,126 words.

                                     /s/ Chad R. Bowman
                                     Chad R. Bowman
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 19, 2023, I directed the foregoing to be filed

electronically with the Clerk of the Court by using the appellate CM/ECF system.

                                       /s/ Chad R. Bowman
                                       Chad R. Bowman
